                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )       Criminal Action No.
               v.                             )       18-00293-02-CR-W-DGK
                                              )
TREVOR SCOTT SPARKS,                          )
                                              )
                       Defendant.             )

                                        ORDER

       Pending before the Court is the motion (Doc. No. 258) of defendant Trevor Sparks for

Speedy Trial and Objection to Continuance. The government has filed its Suggestions in

opposition (Doc. No. 315).

       This case currently pends on a third superseding indictment returned by the Grand Jury

on Joly 21, 2020. There are 25 defendants and the case charges serious weapons offenses and a

complex drug conspiracy. Following motions to continue the trial filed by several defendants,

the case is currently set for trial on the Court’s Joint Criminal Jury Trial Docket scheduled to

begin March 22, 2021. Several motions have been filed by defendant Sparks, including motions

to dismiss, for suppression and for severance. It is anticipated that other co-defendants will be

filing other substantive motions. Additionally, several of the co-defendants named in the third

superseding indictment have yet to appear before the Court. The current Speedy Trial Deadline

for defendant Sparks is July 1, 2021.

       For these reasons, and for good cause appearing, it is

       ORDERED that is the motion (Doc. No. 258) of defendant Trevor Sparks for Speedy

Trial and Objection to Continuance is DENIED.




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                             /s/ JOHN T. MAUGHMER __
                                       John T. Maughmer
                                 United States Magistrate Judge




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